Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3494 Page 1 of 9




                             EXHIBIT 43
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3495 Page 2 of 9




      THE LAC VIEUX DESERT BAND OF LAKE SUPERIOR CHIPPEWA INDIANS

           TRIBAL CONSUMER FINANCIAL SERVICES REGULATORY CODE


                       SECTION 1. FINDINGS, INTENT AND POLICY

        1.1    Findings. The Tribal Council of the Lac Vieux Desert Band of Lake Superior
  Chippewa Indians, the primary governing body of the Tribe, finds that:

             (a)   The Tribe desires to expedite the development of the economy of the Tribe in
     order to improve the Tribe's economic self-sufficiency, to enable the Tribe to better serve the
     social, economic, educational, and health and safety needs of its members and visitors, and to
     provide its members with opportunities to improve their own economic circumstances.

            (b)     Tribal operation and licensing of one (1) or more consumer financial services
     businesses is a legitimate means of generating revenue to address the aforementioned needs
     and pursuing the Tribe's goal of self-sufficiency and self-determination.

            (c)     The Tribe has the legal authority to license and regulate consumer financial
     services businesses within its jurisdiction.

           (d)    Properly licensed and regulated consumer financial services is consistent with
     announced federal policy promoting tribal self-government and economic self-sufficiency.

            (e)     Tribal regulation and control of consumer financial services businesses within
     the jurisdiction of the Tribe is essential for the protection of the public welfare.

           (f)   It is essential that the Tribal Council regulate consumer financial services in a
     manner commensurate with Tribal law and policy and applicable federal law.

            (g)     It is essential that public confidence in consumer financial services that takes
     place within the Tribe's jurisdiction be maintained.

             (h)   Adoption of a Tribal Consumer Financial Services Regulatory Code by the
     Tribal Council is a necessary condition for the legal operation of consumer financial services
     within the Band’s reservation and is in the best interest of the Tribe.

            (i)    Establishment of a Tribal Consumer Financial Services Regulatory
     Authority to implement the purpose and intent of the Tribal Financial Services Regulatory
     Code within the Band’s reservation is in the best interest of the Tribe.

         1.2    Intent. The Tribal Council, on behalf of the Tribe, declares that the intent of this
  Code is to:

            (a)    Diversify and expedite the development of the economy of the Lac Vieux
     Desert Band of Lake Superior Chippewa Indians for the purposes described in section 1.1(a)
     above.




                                                                                                       Ex 43
                                                                                                         801
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3496 Page 3 of 9

  Tribal Consumer Financial Services Regulatory Code                           Page 4 of 35
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




         2.10 "License" means the official, legal and revocable Financial Services License,
 Vendor License or Employee License, issued by the Authority. A License relating to consumer
 financial services is a revocable privilege.

       2.11 “Licensee” means any Financial Services Licensee, Vendor Licensee, and
 Employee Licensee whenever used generally in this Code.

        2.12    "Code" means this Tribal Consumer Financial Services Regulatory Authority

         2.13 "Person" means any natural person, partnership, joint venture, association, trust, firm,
 estate, club, society, receiver, assignee, trustee in bankruptcy, political entity, company,
 corporation or other group, however organized, and any owner, director, officer or employee of
 any such entity or any group of individuals acting as a unit, whether mutual, cooperative,
 fraternal, nonprofit, or otherwise, the government of the Tribe, any governmental entity of the
 Tribe or any of the above listed forms of business entities that are wholly owned or operated by the
 Tribe, or any other entity whatsoever, who engages or seeks to engage in the business of
 consumer financial services pursuant to this Code; provided, that the term does not include the
 Federal Government or any agency thereof.

        2.14 “Title Transaction Business” means the activities of a financial services provider in
 providing Vehicle Transactions and other related financial services to consumers or other
 persons.

        2.15 "Tribal Council" means the Lac Vieux Desert Band of Lake Superior Chippewa
 Indians Tribal Council, the governing body of the Tribe as defined and described in Article IV,
 Section 1 of the Tribe's Constitution.

        2.16 "Tribal Financial Services Regulatory Authority" or "Authority" means the
 regulatory authority established and described in Section 4 of this Code.

       2.17 "Tribe," “Band” or “LVD” means the Lac Vieux Desert Band of Lake Superior
 Chippewa Indians.

        2.18 “Vendor” means any natural person, partnership, joint venture, association, trust,
 firm, estate, club, society, receiver, assignee, trustee in bankruptcy, political entity, company,
 corporation or other group, however organized, who engages or seeks to engage in the business
 of providing services to a Licensee pursuant to this Code.

        2.19 "Vendor Licensee" means a Person or entity that is licensed by the Authority to
 provide services to a Financial Services Licensee in connection with the marketing, origination,
 processing, or collecting consumer financial services.

        2.20 “Vehicle Transaction” means any form of consumer financial services transaction
 provided by a financial services provider to a consumer that is secured, in whole or in part, by a

                                                                                                         Ex 43
                                                                                                           802
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3497 Page 4 of 9

  Tribal Consumer Financial Services Regulatory Code                             Page 6 of 35
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




 and after the date of its final passage and approval by the Tribal Council.

      SECTION 4. TRIBAL FINANCIAL SERVICES REGULATORY AUTHORITY

 4.1             Establishment and Purpose. The Tribal Council hereby charters, creates and
 establishes the Tribal Financial Services Regulatory Authority as a governmental subdivision of
 the Tribe. The Authority has charge of the implementation of the Code and regulations of the
 Tribe relating to consumer financial services activities and associated licensing requirements.

         4.2     Location and Place of Business. The Authority may maintain its headquarters,
 principal place of business and office within the Tribal offices. The Authority may, however,
 with a majority vote from the Tribal Council, establish other places of business in such other
 locations as the Authority may from time to time determine to be in the best interest of the Tribe.

        4.3    Duration. The Authority shall have perpetual existence and succession in its own
 name, unless dissolved by the Tribal Council pursuant to Tribal law.

         4.4      Attributes. As a governmental subdivision of the Tribe, the Authority is under the
 direction and control of the Tribal Council, and it is the purpose and intent of the Tribal Council that
 the operations of the Authority be conducted on behalf of the Tribe for the sole benefit and interests
 of the Tribe, its members and residents of and visitors to the Tribe’s reservation.

           (a)     Arm of Tribe. In carrying out its purposes under this Code, the Authority shall
    function as an arm of the Tribe.

            (b)     Tribal Actions. Notwithstanding any authority delegated to the Authority
    under this Code, the Tribe reserves to itself the right to bring suit against any Person or entity in
    its own right, on behalf of the Tribe or on behalf of the Authority whenever the Tribe deems
    it necessary to protect the sovereignty, rights and interests of the Tribe or the Authority.

        4.5     Sovereign Immunity of the Authority.

           (a)     Immunity from Suit. The Authority is cloaked by Tribal and federal law with all
    the privileges and immunities of the Tribe, except as specifically limited by this Code,
    including sovereign immunity from suit in any tribal, federal or state court.

           (b)      No Waiver. Nothing in this Code shall be deemed or construed to be a waiver of
    sovereign immunity of the Authority from suit, which shall only be waived pursuant to
    subsection 4.5.

            (c)    No Consent to Jurisdiction. Nothing in this Code shall be deemed or
    construed to be consent of the Authority to the jurisdiction of the United States or of any state
    or of any other tribe with regard to the business or affairs of the Authority.

           (d)   Waiver of Sovereign Immunity of the Authority. Sovereign immunity of the
    Authority may be waived upon the recommendation of the Authority and only by express


                                                                                                            Ex 43
                                                                                                              803
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3498 Page 5 of 9

  Tribal Consumer Financial Services Regulatory Code
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




    resolution of the Tribal Council.

               (1)    Resolution Effecting Waiver. All waivers of sovereign immunity must be
        preserved with resolutions of continuing force and effect issued by the Tribal Council.

               (2)     Policy on Waiver. Waivers of sovereign immunity are disfavored and
        shall be granted only when necessary to secure a substantial advantage or benefit to the
        Authority or the Tribe.

                (3)    Limited Nature to Waiver. Waivers of sovereign immunity shall not be
        general but shall be specific and limited as to duration, grantee, transaction, property or
        funds, if any, of the Authority subject thereto, and the court having jurisdiction pursuant
        thereto and law applicable thereto.

               (4)    Limited Effect of Waiver. Neither the power to sue and be sued provided in
        subsection 4.12 herein, nor any express waiver of sovereign immunity by resolution of the
        Tribal Council shall be deemed a consent to the levy of any judgment, lien or
        attachment upon property of the Authority other than property specifically pledged or
        assigned, a consent to suit with respect to any land within the exterior boundaries of the
        Tribe’s reservation, or a consent to the alienation, attachment or encumbrance of any
        such land.

         4.6     Sovereign Immunity of the Tribe. With respect to the existence and activities of
 the Authority, all inherent sovereign rights of the Tribe as a Federally-recognized Indian Tribe are
 hereby expressly reserved, including sovereign immunity from suit in any state, Federal or Tribal
 court. Nothing in this Code nor any action of the Authority shall be deemed or construed to be a
 waiver of sovereign immunity from suit or counterclaim of the Tribe, a consent of the Tribe to
 the jurisdiction of the United States, any state or other tribe with regard to the business or affairs
 of the Authority or the Tribe, a consent of the Tribe to any cause of action, counterclaim, case or
 controversy, or to the levy of any judgment, lien or attachment upon any property of the Tribe, a
 consent to suit or counterclaim in respect to any land within the exterior boundaries of the Tribe’s
 reservation, or to be a consent to the alienation, attachment or encumbrance of any such land.
         4.7     Assets of the Authority. The Authority shall have only those assets specifically
 assigned to it by the Tribal Council, acquired in its name by the Tribe, or acquired by the
 Authority on its own behalf. No activity of the Authority or any indebtedness incurred by it shall
 implicate or in any way involve any assets of tribal members or the Tribe not assigned in writing to
 the Authority.

        4.8         Regulatory Agent; Compensation, Duties.

           (a)    Regulatory Agent; Term of Office. The Authority shall initially be governed by
    one (1) Agent appointed by the Tribal Council. The Tribal Council may increase the number
    of Agents by Resolution as it deems necessary to conduct the governmental operations of the
    Authority. The Tribal Council shall determine an Agent’s term of office.

              (b)      Compensation. The compensation of the Agent shall be established from time to

                                                                                                          Ex 43
                                                                                                            804
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3499 Page 6 of 9

  Tribal Consumer Financial Services Regulatory Code                              Page 8 of 35
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




     time by the Tribal Council.

                (1) Duties. The Agent shall have the following responsibilities:

               (2) Oversee and have responsibility for the day-to-day operations of the Authority,
        including supervision of Authority employees;

                (3)     Serve as the agent for service of process; and

               (4)     Conduct or oversee the conduct of any meetings or hearings held by the
        Authority in accordance with this Code or further directive of the Tribal Council.

           (c)      Agent Qualifications. Any person appointed as an Agent of the Authority
    shall meet the following qualifications:

                (1)     The Agent shall be an enrolled member of the Tribe.

               (2)    The Agent shall have expertise, experience, education or a combination
        thereof in the following areas: financial services, finance, management, business,
        governmental regulation, law, and/or Tribal policy.

              (3)    The Agent shall be at least twenty-one (21) years of age and show proof of
        High School Diploma or equivalent.

                (4)     No person shall serve as Regulatory Agent if:

                      i.      His/her prior activities, criminal record, if any, or reputation, habits or
                associations:

                                i.      Pose a threat to the public interest; or
                                ii.     Threaten the effective regulation and control of financial
                                        services; or

                                iii.    Enhance the dangers of unsuitable, unfair, or illegal
                                        practices, methods, or activities in the conduct of financial
                                        services.
                      ii.        He/she has been convicted of or entered a plea of no contest to any
                felony or to a misdemeanor involving breach of trust or dishonesty in any
                jurisdiction; or

        4.9                     He/she, or any member of his or her Immediate Family has an
 ownership, partnership or other direct monetary or financial interest in the conduct of any Licensee
 or is in privity with a Financial Services Licensee, Vendor Licensee or one of its agents,
 contractors, or sub-contractors; or if he or she has any other personal or legal relationship that places
 him/her in a conflict of interest with any Licensee. For purposes of this subsection, "Immediate
 Family" includes spouse or significant other, parents, children, and siblings. Ownership of a
 Licensee by virtue of membership in the Tribe is not a per se monetary or financial interest in
 the conduct of any Licensee.

                                                                                                             Ex 43
                                                                                                               805
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3500 Page 7 of 9

  Tribal Consumer Financial Services Regulatory Code
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




        4.10                 Meetings.     The Authority shall hold or participate in such
 meetings with the Tribal Council as are necessary and appropriate.

        4.11 Prohibited Acts. The Agent and Authority employees shall not do any of the
 following with respect to any Licensee under the jurisdiction of the Authority:

            (a)    Be indebted, either directly or indirectly, as borrower, accommodation
    endorser, surety or guarantor to any Licensee unless such indebtedness was contracted before
    becoming employed by or appointed to the Authority and is fully disclosed to the Authority.
    Notwithstanding the foregoing, an employee of the Authority other than a Commissioner
    may become so indebted; provided that, while the debt is outstanding, the borrower shall not
    participate in any examination of any Licensee conducted by the Authority and the
    indebtedness is:

                (1)       Incurred on terms no more favorable than those available to the general
        public, and

               (2)     Fully disclosed to and approved by the Chairperson before funding,
        including the following information:

                         i.      The date of the indebtedness;

                        ii.      The amount;

                       iii.      The interest rate; and
                       iv.       Security.

           (b)        Be an officer, director, or employee of any Licensee.

           (c)        Own or deal in, directly or indirectly, the shares or obligations of any Vendor
    Licensee.

            (d)     Be interested in, directly or indirectly, or receive from any Licensee or any
    officer, director, or employee of any Licensee any salary, fee, compensation or other valuable
    thing by way of gift, donation, credit, or compensation for services or otherwise; except that an
    Agent or Authority employee is permitted to receive his or her pro-rata share of revenue that
    has been generated by a Licensee and is distributed among all eligible Tribal members by
    virtue of membership in the Tribe.

        4.12     Removal of Regulatory Agent / Vacancy.
           (a)     Removal. The Agent may be removed by the Tribal Council for the following
    reasons: serious inefficiency, neglect of duty, malfeasance, misfeasance, nonfeasance,
    misconduct in office, or for any conduct which threatens the honesty and integrity of financial
    services or the Authority or violates the letter or intent of this Code. The decision of the Tribal
    Council concerning removal of a Regulatory Agent shall be final.


                                                                                                          Ex 43
                                                                                                            806
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3501 Page 8 of 9

  Tribal Consumer Financial Services Regulatory Code                           Page 10 of 35
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




            (b)    Vacancy. If the Regulatory Agent shall die, resign, be removed or for any
    reason be unable to serve as an Agent, the Tribal Council shall declare his or her position
    vacant and shall appoint another qualified Tribal member to fill the position within thirty (30)
    days of the vacancy. The term of office of the person appointed to replace the Agent shall be
    for the balance of the unexpired term for the position.

         4.13 Powers of the Authority. The Authority has the authority and responsibility for
 the discharge of all duties imposed by law and this Code on the Authority. In furtherance, but not in
 limitation of, the Authority's purposes and responsibilities, and subject to any restrictions
 contained in this Code or other applicable law, the Authority shall have, and is authorized to
 exercise the following powers and responsibilities in addition to all powers already conferred by
 this Code:

           (a)     To promulgate, adopt, and enforce regulations and rules furthering the purpose
    and provisions of this Code; provided that such regulations shall take effect only upon
    approval of the Tribal Council.

           (b)    To examine or inspect or cause to be examined or inspected each Licensee
    annually and more frequently if the Authority considers it necessary.

            (c)     To make or cause to be made reasonable investigations of any Licensee or
    Person as it deems necessary to ensure compliance with this Code or any order of the
    Authority, to determine whether any Licensee or Person has engaged, is engaging or is about to
    engage in any act, practice or transaction that constitutes an unsafe or unsound practice or
    violation of this Code or any order of the Authority; or to aid in adopting rules or regulations
    pursuant to this Code.

            (d)      To establish procedures designed to permit detection of any irregularities,
    fraud, or the like.

           (e)    Upon prior explicit resolution and approval of the Tribal Council, to employ
    such advisors as it may deem necessary. Advisors may include, but are not limited to,
    lawyers, accountants, law enforcement specialists and financial services professionals.

           (f)    To accept, review, approve or disapprove any Application for a License,
    including conducting or arranging for background investigations of all Applicants.

            (g)     To examine under oath, either orally or in writing, in hearings or otherwise,
    any Licensee or Person, or agent, officer or employee of any Licensee or Person, or any other
    witness with respect to any matters related to this Code and to compel by subpoena the
    attendance of witnesses and the production of any books, records, and papers with respect
    thereto. Upon refusal to appear or produce, the Authority may apply to a court of competent
    jurisdiction to compel appearance or production.

            (h)     To make, or cause to be made by its agents or employees, an examination or

                                                                                                         Ex 43
                                                                                                           807
Case 3:17-cv-01436-RSH-DEB Document 39-43 Filed 03/02/18 PageID.3502 Page 9 of 9

  Tribal Consumer Financial Services Regulatory Code
  Originally Enacted Pursuant to Tribal Council Resolution 2011-030
  Last Amended Pursuant to Tribal Council Resolution T2015-073




    investigation of the place of business, equipment, facilities, tangible personal property and the
    books, records, papers, vouchers, accounts, documents and financial statements of any
    Licensee or Person engaging or participating in, or suspected to be engaging or participating in,
    consumer financial services.

            (i)     To discipline any Licensee or Person engaging or participating in consumer
    financial services in violation of this Code by ordering immediate compliance, issuing fines and
    sanctions, and suspending or revoking any License pursuant to the hearings and due process
    required by Section 4.18 of this Code.

           (j)    To sue or be sued in courts of competent jurisdiction within the United States
    and Canada, subject to Section 4.6 herein; provided, that no suit shall be brought by the
    Authority without the prior explicit written approval of the Tribal Council.

            (k)     To arbitrate, compromise, negotiate or settle any dispute to which it is a party
    relating to the Authority's authorized activities, subject to any approval of the Tribal Council
    that may be required by the Tribal Council.

            (l)    To adopt a schedule of fees to be charged for the processing, issuance and
    renewal of Licenses, including fees or charges associated with conducting background checks;
    for reasonable examinations of Licensees; and for services rendered relating to transcripts
    and the furnishing or certifying of copies of proceedings, files, and records and to impose the
    forgoing fees as applicable.

          (m)      To establish and maintain such bank accounts as may be necessary or
    convenient.

            (n)   To make such findings as may be necessary to implement the Authority's
    duties and powers, with such findings to be given deference as the legally binding findings of a
    governmental entity.

        4.14   Investigations, Right of Entrance.

           (a)    Investigations. The Authority, upon complaint or upon its own initiative or
    whenever it may deem it necessary in the performance of its duties or the exercise of its
    powers, may investigate and examine the operation and premises of any Licensee or Person
    engaging or suspected to be engaging in consumer financial services within its jurisdiction.

                 (1)   In undertaking such investigations, the Authority may request the
        assistance of federal or local law enforcement officials, legal counsel and/or other third
        parties.
               (2)     In conducting such investigation, the Authority shall make no order or
        final decisions without affording any affected party notice and a hearing pursuant to
        Section 4.18 of this Code.
               (3)     This power to investigate does not authorize the Authority to manage the

                                                                                                        Ex 43
                                                                                                          808
